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                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

 MSR MEDIA SKN LTD., MSR
 HOTELS & CO. LTD., MSR
 MEDIA INTERNATIONAL LLC,
 and PHILIPPE MARTINEZ,

                   Plaintiffs,
                                      Case No: 8:24-cv-01248-KKM-AAS

 LESLIE KHAN, CARIBBEAN
 GALAXY REAL ESTATE CORP.,
 CARIBBEAN GALAXY REAL
 ESTATE LTD., YING JIN,
 TIMOTHY HARRIS, DENZIL
 DOUGLAS, CARIB TRUST LTD.,
 FARON LAWRENCE, ST. KITTS-
 NEVIS-ANGUILLA NATIONAL
 BANK LTD., and MC CLAUDE
 EMMANUEL,

                   Defendants.

          CERTIFICATE OF INTERESTED PERSONS AND
            CORPORATE DISCLOSURE STATEMENT

       I hereby disclose the following pursuant to this Court’s interested

  persons order:

     1. the name of each person, attorney, association of persons, firm,

        law firm, partnership, corporation, limited liability company,

        subsidiary, conglomerate, affiliate, member, and any other
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        identifiable legal entity that has, or might have, an interest in

        the outcome of this action, including through any ownership

        however small of a party’s shares or stock, as well as all other

        identifiable legal entities related to any party in the case:

                 • Philippe Martinez;

                 • MSR Media SKN Limited, which is owned by the

                   following entities:

                      o 77.5% is owned by MSR Media America LLC,

                         which is wholly owned by Philippe Martinez;

                         and

                      o 22.5% is owned by Cerulean Ventures Limited,

                         of which 50% is owned by Gary Raskin and 50%

                         is owned by Alastair Burlingham.

                 • MSR Hotels & Co. Limited, which is owned by the

                   following entities:

                      o 51% is owned by Sun Pearl Holdings Limited,

                         which is wholly owned by MSR Media America

                         LLC, which is wholly owned by Philippe

                         Martinez;


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                      o 16.334% is owned by Cerulean Ventures

                         Limited, of which 50% is owned by Gary Raskin

                         and 50% is owned by Alastair Burlingham;

                      o 8.167% is owned by Optimal Consulting Group

                         Limited, which is wholly owned by Charles

                         Dombeck; and

                      o 24.5% is owned by Green Mandala Holdings

                         Limited, which is wholly owned by Charles

                         Dombeck.

                • MSR Media International LLC, which is owned by the

                   following entities and individuals:

                      o 37.5% is owned by Martinez Heritage Holdings

                         LLC, which is wholly owned by Philippe

                         Martinez;

                      o 25% is owned by Montaniel Holdings LLC,

                         which is wholly owned by Lee Beasley;

                      o 25% is owned by Karinne Estelle Behr; and

                      o 12.5% is owned by Radiant Creative Solutions

                         LLC, which is wholly owned by Megan Brown


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                         Martinez.

                 • MSR Media America LLC, which is wholly owned by

                   Philippe Martinez.

     2. the name of every other entity with publicly-traded stock,

        equity, or debt that may be affected by the outcome of the

        proceedings:

                 • None.

     3. the name of every other entity which is likely to be an active

        participant in the proceedings, including the debtor and

        members of the creditors’ committee (or twenty largest

        unsecured creditors) in bankruptcy cases:

                • None.

     4. the name of each victim (individual or corporate) of civil and

        criminal conduct alleged to be wrongful, including every person

        who is arguably eligible for restitution:

                • Philippe Martinez;

                 • MSR Media SKN Limited and its owners, as named

                   above;

                 • MSR Hotels & Co. Limited and its owners, as named

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                   above;

                 • MSR Media International LLC and its owners, as

                   named above; and

                 • MSR Media America LLC and its owner, as named

                   above.

         I hereby certify that, except as disclosed above, I am unaware of

  any actual or potential conflict of interest affecting the district judge

  or the magistrate judge assigned to this case, and I will immediately

  notify the Court in writing on learning of any such conflict.

       Respectfully submitted this 7th day of June, 2024.


                                         /s/ Lisandra Ortiz
                                   Lisandra Ortiz (Bar No. 112108)
                                      Lead Counsel
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                                   Attorneys for Plaintiffs


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                      CERTIFICATE OF SERVICE

       I hereby certify that on June 7, 2024, a true and correct copy of

 the foregoing was filed via CM/ECF and will be served in accordance

 with Rule 4 of the Federal Rules of Civil Procedure.

                                        /s/ Lisandra Ortiz
                                   Lisandra Ortiz (Bar No. 112108)




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